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13
                          IN THE UNITED STATES DISTRICT COURT
14                            FOR THE DISTRICT OF ARIZONA
15

16    United States of America,
                                                        Case No. 2:21-cv-00094-PHX-GMS
17              Plaintiff,
18                                                      JOINT REPORT ON
                v.                                      SETTLEMENT TALKS
19
      Michael L. Quiel,
20

21              Defendant.
22

23         Plaintiff United States of America and Defendant Michael Quiel submit this joint
24   report on settlement talks pursuant to the Court’s Case Management Order of July 24,
25   2021 (Doc. 14, ¶ 9).
26         On April 5, 2022, the parties held good-faith settlement talks. While the parties
27   did not reach agreement on any issue, they determined to return to settlement discussions
28   following resolution of any dispositive motions.
                                                 1
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 1         The parties do not believe that, at this time, they need the Court’s assistance in
 2   seeking settlement.
 3

 4   Respectfully submitted April 18, 2022.
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 7
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 8                                     Deputy Assistant Attorney General
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                                       /s/ Charles J. Butler
10                                     CHARLES J. BUTLER
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19                                     /s/ Brandon A. Keim
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                Case 2:21-cv-00094-GMS Document 36 Filed 04/18/22 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2

 3             I hereby certify that on April 18, 2022, I filed the foregoing via the Court’s
 4   CM/ECF system, which will provide notice to all parties that have appeared in this
 5   action.
 6

 7
                                           /s/ Charles J. Butler
 8
                                           CHARLES J. BUTLER
 9                                         Trial Attorney, Tax Division
                                           U.S. Department of Justice
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